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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 MOISES AGUILAR, JR. ET AL.,                      §
                                                  §
      Plaintiffs,                                 §
                                                  §
 v.                                               §    CIVIL ACTION NO. 3:17-cv-1165-B
                                                  §
 OCWEN LOAN SERVICING, LLC,                       §
                                                  §
      Defendant.                                  §

                            MEMORANDUM OPINION AND ORDER

             The twenty-five plaintiffs in this case claim that Ocwen Loan Servicing, LLC (Ocwen)

violated the federal Telephone Consumer Protection Act (TCPA) and the Texas Debt Collection

Act (TDCA) and committed the Texas common-law torts of negligence and unreasonable debt

collection by using automated dialing systems to call the plaintiffs numerous times.1 Ocwen has now

moved under Federal Rule of Civil Procedure 12(b)(6) to dismiss many of the plaintiffs’ claims,

contending that some are time barred and others insufficiently pleaded. Doc. 22, Mot. to Dismiss.

The Court will first determine which claims are time barred and will then determine whether the

plaintiffs have adequately pleaded their remaining claims. As detailed below, the Court GRANTS

IN PART AND DENIES IN PART Ocwen’s motion to dismiss.




         1
          For convenience, the Court will refer to the plaintiffs’ TDCA and Texas common-law claims
collectively as the plaintiffs’ “Texas claims.”

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                                                    I.

                                           BACKGROUND

A.      Factual History2

        On October 27, 2014, a class action was filed against Ocwen in the Northern District of

Illinois in which the class alleges among other things,3 that Ocwen violated 47 U.S.C. §

227(b)(1)(A)(iii) of the TCPA. Mem. Op. & Order at 6, Snyder v. Ocwen Loan Serv., LLC, No. 1:14-

cv-8461 (N.D. Ill. Jun. 28, 2017), ECF No. 223. The Snyder Court conditionally certified a class

settlement on October 5, 2017. Order, Snyder v. Ocwen Loan Serv., LLC, No. 1:14-cv-8461 (N.D.

Ill. Oct. 5, 2017), ECF No. 266.

        On May 3–8, 2017, the twenty-five plaintiffs in this case brought claims similar to those of

the Snyder class, alleging that Ocwen attempted to collect debts from them by using “automatic

telephone dialing system[s]”4 to call them numerous of times and that the repeated calls drained the

plaintiffs’ phone batteries and caused them various forms of emotional distress, including the

disruption of the plaintiffs’ personal and professional lives.5 Because of the calls, the plaintiffs claim


        2
         This factual history is drawn from the plaintiffs’ amended complaints. Citations to court
documents are to documents in case 3:17-cv-01165-B, the case number under which the Court
consolidated the plaintiffs’ cases, unless another case number is indicated.
        3
         The Snyder complaint also accuses Ocwen of violating the federal Fair Debt Collection Practices
Act (FDCPA). See 15 U.S.C. § 1692 et seq. The Snyder FDCPA claims do not rely on allegedly harassing
phone calls and are therefore irrelevant to this case.
        4
            See 47 U.S.C. § 227(a)(1).
        5
          3:17-cv-1165, Doc. 14, Am. Compl., ¶¶ 24–25, 29, 38–42, 48; 3:17-cv-1235-B, Doc. 14, Am.
Compl., ¶¶ 26–27, 33–39, 47–51, 57. Except for the 3:17-cv-1235-B Amended Complaint cited in this
footnote, the live complaints in this case are similar enough to the 3:17-cv-1165 complaint, that the
Court will cite the 3:17-cv-1165 complaint when referring generally to the live complaints. The Court will
cite other complaints when relevant differences among the complaints so require.

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to have ignored calls from unknown numbers, which allegedly caused the plaintiffs to miss important

communications from friends and family.6 Each plaintiff alleges a date range in which they say Ocwen

called them and the amount and frequency of calls within a narrower date range.7 For example,

Plaintiff Aguilar alleges that Ocwen called him between March 30, 2011 and December 13, 2015

and that “on information and belief,” Ocwen continued to call him after December 13, 2015, and

Aguilar describes in detail the amount and frequency of calls received from April to September 2014.

Doc. 14, Am. Compl., ¶¶ 24–25, 29–30. Most of the plaintiffs complain about alleged calls to their

cellular phones. 3:17-cv-1165, Doc. 14, Am. Compl., ¶¶ 24–25. But Plaintiffs Hickman and

Villalobos complain also about calls to their home phones.8 The Court has detailed below the

plaintiffs’ allegations regarding the timing, amount, and frequency of the alleged calls.

Table 1

    Plaintiff/Case Number               Date Range of Calls                Dates of Detailed
                                        (to cell phone unless                Allegations
                                          otherwise noted)
     Aguilar/3:17-cv-01165             March 30 2011 through           April through September

                                    December 13, 2015 and after                   2014

                                         December 13, 2015




       6
           3:17-cv-1165, Doc. 14, Am. Compl., ¶ 42.
       7
        3:17-cv-1165, Doc. 14, Am. Compl., ¶¶ 24–25, 29–30; 3:17-cv-1235-B, Doc. 14, Am. Compl.,
¶¶ 24–27, 31–39.
       8
           3:17-cv-01183, Doc. 15, Am. Compl. ¶ 29; 3:17-cv-01235, Doc. 14, Am. Compl., ¶¶ 24–25.

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  Casey/3:17-cv-01166         April 4, 2011 through        January through October

                           December 16, 2015 and after              2012

                               December 16, 2015
Condarco/3:17-cv-01167        June 16, 2011 through        August 2014 through July

                           December 16, 2015 and after              2015

                               December 16, 2015
Contreras/3:17-cv-01168       April 5, 2011 through      July through December 2014

                           December 16, 2016 and after

                               December 16, 2016
Rodriguez/3:17-cv-01169      March 30, 2011 through       April through August 2015

                           December 16, 2015 and after

                               December 16, 2015
 Zamora/3:17-cv-01181        March 30, 2011 through       July through October 2012

                           December 15, 2015 and after

                               December 15, 2015
Wildberger/3:17-cv-01182   December 13, 2011 through     June through December 2014

                           December 15, 2015 and after

                               December 15, 2015




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Villalobos/3:17-cv-01183    Home phone: unidentified       June through December 2014

                                      dates

                           Cellular phone: April 4, 2011

                            through July 29, 2015 and

                                after July 29, 2015
 Castillo/3:17-cv-01184      March 30, 2011 through         May through August 2012

                           December 16, 2015 and after

                               December 16, 2015
 Pinilla/3:17-cv-01185     December 20, 2011 through       January through March 2015

                           December 14, 2015 and after

                               December 14, 2015
 Pinilla/3:17-cv-01186     November 23, 2011 through              January 2012

                           December 16, 2015 and after

                               December 16, 2015
 Pizzuto/3:17-cv-01200       October 5, 2011 through       June through December 2012

                             March 2, 2015 and after

                                  March 2, 2015
  Meis/3:17-cv-01201         March 5, 2013 through           February through August

                           November 21, 2016 and after                2015

                               November 21, 2016




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 Snerling/3:17-cv-01202      February 14, 2012 through      January through July 2013

                            November 7, 2014 and after

                                 November 7, 2014
 Espinosa/3:17-cv-01210        March 5, 2013 through        March through April 2013

                            December 16, 2015 and after

                                December 16, 2015
 Latunde/3:17-cv-01211         April 18, 2011 through          2012 through 2014

                             October 24, 2015 and after

                                 October 24, 2015
 Gonzales/3:17-cv-01212      September 5, 2011 through     June through December 2014

                            December 15, 2015, and after

                                December 15, 2015
   Jack/3:17-cv-01213        January 13, 2012 through      May through December 2014

                            December 16, 2015 and after

                                December 16, 2015
   Lock/3:17-cv-01214        September 5, 2011 through     May through December 2014

                            December 16, 2015 and after

                                December 16, 2015
Bowden, Sr./3:17-cv-01232   April 4, 2011 through April    June through December 2012

                            14, 2014 and after April 14,

                                       2014




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      Chavez/3:17-cv-01233         May 8, 2012 through August             2014 and April 2015

                                   13, 2015 and after August 13,

                                                2015
      Gribben/3:17-cv-01234           April 10, 2012 through            2012 and January 2015

                                   December 16, 2015 and after

                                        December 16, 2015
     Hickman/3:17-cv-01235          Home phone: April 18, 2011        Home Phone: August 2011

                                       through June 25, 2013               through June 2013

                                      Cell Phone: July 5, 2013           Cell Phone: July 2013

                                    through December 16, 2015           through December 2015

                                   and after December 16, 2015
      Leeder/3:17-cv-01236           February 19, 2013 through          April through November

                                   December 16, 2015 and after                    2014

                                        December 16, 2015
       Odle/3:17-cv-01237           September 5, 2011 through          January through October

                                   April 23, 2014 and after April                 2012

                                              23, 2014

B.      Procedural History

        The plaintiffs filed their complaints on May 3–8, 2017, and the Court consolidated their cases

on July 26, 2017. Doc. 19, Order Consolidating Cases. The plaintiffs filed amended complaints on

July 8, 2017, which Ocwen moved to dismiss on August 2, 2017. Doc. 22, Mot. to Dismiss. Because

the plaintiffs responded, Doc. 25, Response, and Ocwen replied, Doc. 31, Reply, Ocwen’s motion


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to dismiss is ripe for review.

                                                     II.

                                         LEGAL STANDARD

        Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal for failure to state a claim upon

which relief may be granted. Fed. R. Civ. P. 12(b)(6). When analyzing Rule 12(b)(6) motions, courts

generally consider “the complaint, its proper attachments, documents incorporated into the

complaint by reference, and matters of which a court may take judicial notice.” Wolcott v. Sebelius,

635 F.3d 757, 763 (5th Cir. 2011). During this review, factual allegations must be viewed as true and

taken “in the light most favorable to the plaintiffs.” Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir.

1999). Courts are not, however, “bound to accept as true a legal conclusion couched as a factual

allegation.” Bell Atl. Corp. v Twombly, 550 U.S. 544, 555 (2007).

        Rule 12(b)(6) motions turn on whether a complaint contains “enough facts to state a claim

to relief that is plausible on its face.” Id. at 570. Facially plausible complaints “‘allege more than labels

and conclusions’[;] . . . [the] ‘factual allegations must be enough to raise a right to relief above the

speculative level.’” Jebaco, Inc. v. Harrah’s Operating Co., 587 F.3d 314, 318 (5th Cir. 2009) (quoting

Twombly, 550 U.S. at 555). If the allegations lack sufficient detail, “this basic deficiency should . .

. be exposed” before the parties and court spend unnecessary time and resources on the case.

Twombly, 550 U.S. at 558.

                                                    III.

                                               ANALYSIS

A.      Statute of Limitations

        If a plaintiff’s pleadings make clear that a statute of limitations bars the plaintiff’s claims, a

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court can rule on a statute-of-limitations defense at the motion-to-dismiss stage. Williams v. Chase

Home Fin., LLC, No. 3:13-cv-1307-G (BH), 2014 WL 46233, at *3 (N.D. Tex. Jan. 6, 2014). Here,

the plaintiffs’ pleadings establish that the statute of limitations bars some of the plaintiffs’ claims, so

ruling on Ocwen’s statute-of-limitations defense is appropriate at this juncture.

        1. The Parties’ Arguments

        Ocwen argues that the statute of limitations narrows all of the plaintiffs’ claims. Doc. 22,

Mot. to Dismiss, 7. The plaintiffs’ claims fall into two categories: federal TCPA claims and Texas

state-law claims. The statute of limitations for the TCPA claims is four years, 28 U.S.C. § 1658(a),

and the statute of limitations for the Texas claims is two years, Tex. Civ. Prac. & Rem. Code

§ 16.003(a); see Vine St. LLC v. Keeling, 361 F. Supp. 2d 600, 604 (N.D. Tex. 2005) (applying

§ 16.003(a)’s two-year statute of limitations to negligence claim); In Re Marcos F. Lopez, Adv. No.

13-07019, 2015 WL 1207021, at *5 (S.D. Tex. Bankr. Mar. 12, 2015) (applying § 16.003(a)’s

statute of limitations to unreasonable-debt-collection claim); Clark v. Deutsche Bank Nat. Tr. Co.,

No. 3:14-cv-3590-B, 2015 WL 4093948, at *8 (N.D. Tex. Jul. 7, 2015) (applying § 16.003(a)’s

statute of limitations to TDCA claim). The plaintiffs filed their complaints on May 3–8, 2017.9

Absent tolling then, the plaintiffs can hold Ocwen liable for TCPA violations occurring only after

May 3–8, 2013 and for state-law violations occurring only after May 3–8, 2015. If Ocwen has its way,

the plaintiffs claims will be limited as such. Doc. 22, Mot. to Dismiss, 7.

        But the plaintiffs argue that the filing of the Snyder action in October 2014 tolled the statute

of limitations for their claims. Doc. 25, Resp., 4. Thus, the plaintiffs claim that Ocwen is liable under


        9
         See supra note 6. The Court will provide limitations periods for each plaintiff after determining
which claims benefit from tolling.

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the TCPA for conduct dating back to 2010 and under Texas law for conduct dating back to 2012.

Id.

        2. Introduction to American Pipe Tolling

        The plaintiffs’ tolling argument depends on American Pipe & Construction Company. v. Utah,

414 U.S. 538 (1974). There, with only eleven days remaining under the applicable statute of

limitations, the state of Utah filed an antitrust class action against American Pipe on behalf of itself

and other public bodies and agencies. Id. at 541. After the district court ruled that the suit could not

proceed as a class action, id. at 542–43, some putative class members moved to intervene even

though the statute of limitations had run, id. at 543–44. The Supreme Court held that the putative

class members could intervene because the filing of the class action tolled the statute of limitations

on their claims against American Pipe. Id. at 560–61.

        The Supreme Court based its holding on the purposes of class actions and statutes of

limitations. Id. at 555. The purpose of class actions is to protect the rights of putative class members

to the relief sought by the putative class by preventing each putative class member from having to

intervene to protect her rights. Id. at 550, 552. But if the statute of limitations for a putative class

member’s claim continued to run after the filing of a class action, putative class members could not

count on class actions to protect their rights because, if the trial court denied class certification after

the limitations period expired, putative class members could not intervene and would therefore lose

their claims by relying on the class action. Id. at 553. Putative members would need to intervene to

protect their claims. Id. The result would be a needless multiplicity of protective actions, which was

what Rule 23 was designed to prevent. Id. at 553–54. Only if the filing of the class action tolled

putative class members’ claims would class actions protect putative class members’ rights because

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putative class members could rely on the class action but still have their individual claims if their

class were not certified.

        In addition to furthering the purpose of class actions, tolling the statute of limitations

between the filing of a class action and the decision not to certify does not defeat the purpose of

statutes of limitations. Id. at 554. Statutes of limitations “are designed to promote justice by

preventing surprises through revival of claims that have been allowed to slumber until evidence has

been lost, memories have faded, and witnesses have disappeared.” Id. But the filing of a class action

puts the defendant on notice of the putative class’s claims, which reduces the risk of lost evidence,

faded memories, and vanished witnesses. Id. at 554–55. The class allegations give the defendant the

essential information necessary to determine both the subject matter and size of the prospective

litigation. Id. at 555. Thus, tolling the statute of limitations for putative class members, whose claims

are the same as the named plaintiff’s in the class action, does not defeat the purpose of statutes of

limitations. Id.

        Next, American Pipe is relevant even though the plaintiffs in this case filed a lawsuit instead

of intervening. Although American Pipe pertained only to interveners, the Court in Crown, Cork

& Seal Co., Inc. v. Parker extended American Pipe to cover putative class members filing their own

lawsuits after their class was not certified. 462 U.S. 345, 352 (1983)

        But American Pipe and Crown are different from this case in two more ways. First, those cases

involved decisions to intervene or file lawsuits after the trial court hearing the class action decided

not to certify the class. Am. Pipe, 414 U.S. at 542–43; Crown, 462 U.S. at 347. Here, the plaintiffs

filed the present lawsuits before the Snyder court ruled on certification. Second, American Pipe and

Crown involved plaintiffs who raised exactly the same claims against exactly the same defendant as

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the putative class. Am. Pipe, 414 U.S. at 543–44; Crown, 462 U.S. at 348. Here, though the Snyder

suit alleges only TCPA claims, the plaintiffs have filed TCPA and Texas state-law claims against

Ocwen. See, e.g., Doc. 14, Am. Compl., ¶¶ 66–99.

        The Court must therefore resolve two limitations-related issues: 1) whether the plaintiffs can

rely on American Pipe tolling even though the Snyder court has not determined whether to certify the

class and 2) whether American Pipe tolling applies to the plaintiffs’ Texas claims.

        3. American Pipe Tolling and the Timing of Putative Class Members’ Separate Suits

        Although the Fifth Circuit has not determined whether a putative class member can benefit

from American Pipe tolling before the district court hearing the class action has ruled on certification,

other circuits have. On one hand, the Second, Ninth, and Tenth Circuits have held that a putative

class member can benefit from American Pipe tolling even when she chooses to file a lawsuit before

the class-action court rules on certification. In Re Hanford Nuclear Reservation Litig., 534 F.3d 986,

1009 (9th Cir. 2008); State Farm Mut. Auto Ins. Co. v. Boellstorff, 540 F.3d 1223, 1232 (10th Cir.

2008); In Re WorldCom Secs. Litig., 496 F.3d 245, 252 (2d Cir. 2007). On the other, the First and

Sixth Circuits have held that a putative class member must wait for certification to be denied in

order to benefit from American Pipe tolling. Wyser-Prate Mgmt. Co. v. Telxon Corp., 413 F.3d 553, 569

(6th Cir. 2005); Glater v. Eli Lilly & Co., 712 F.3d 735, 739 (1st Cir. 1983). And although a district

court in the Fifth Circuit has required a putative class member to wait for a decision not to certify

the class to benefit from American Pipe tolling, Rahr v. Grant Thornton LLP, 142 F. Supp. 2d 793, 800

(N.D. Tex. 2000), a more recent decision relied on the Second Circuit’s reasoning to allow a plaintiff

to benefit from American Pipe tolling before a decision on certification, In Re BP p.l.c. Sec. Litig., No.

4:13-cv-1393, 2014 WL 4923749, at *4 (S.D. Tex. Sept. 30, 2014).

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        Under the rationale of American Pipe, the filing of a class action tolls the statute of limitations

for a putative class member to file a separate lawsuit whether the putative class member files before

or after the trial court’s certification decision. The purpose of American Pipe tolling is to prevent

putative class members from being forced to intervene or file their own lawsuits based on the fear

that their claims will be time barred if their class is not certified. WorldCom, 496 F.3d at 256.

Essentially, putative class members are plaintiffs in the putative class action until excluded by a

decision not to certify or their own opting out. Id. at 255. While the putative members are parties

to the putative class action, the statute of limitations does not run on their claims against the

defendant. Id. This is true for putative class members who intervene or file their own suits before a

decision on certification as it is of those who wait for a certificating decision. Id. Nothing in American

Pipe or subsequent Supreme Court decisions counsels otherwise. Id. As the Second Circuit has

indicated, the Supreme Court’s statement that “the commencement of a class action suspends the

applicable statute of limitations as to all asserted members of the class who would have been parties

had the suit been permitted to continue as a class action” should be taken at face value. Id.

        The Court finds the approach of courts that have said putative class members must wait for

a decision on certification unpersuasive. These courts have reasoned that allowing putative class

members to file suits or intervene before a decision on certification would defeat the purpose of

American Pipe by allowing for the “multiplicity of activity” American Pipe was intended to prevent.

Rahr, 142 F. Supp. 2d at 800. But these Courts interpretation of American Pipe is slightly wrong.

American Pipe allowed for tolling because, without tolling, plaintiffs would be forced to intervene or

file suit before certification to protect their rights. WorldCom, 496 F.3d at 256. Although American

Pipe tolling likely reduces interventions and suits duplicating class actions, reducing casework was

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not the primary goal of American Pipe. Id. at 256. Thus, reducing interventions and the filing of

lawsuits is an inadequate justification for restricting American Pipe tolling to putative class members

who wait for a decision on certification.

        4. American Pipe Tolling and State-Law Claims

        The remaining issue is to what claims American Pipe tolling applies. The plaintiffs’ TCPA

claims are the same as the putative Snyder class’s, so the Snyder action tolled the statute of limitations

for the plaintiffs’ TCPA claims. The TCPA claims can therefore proceed as pleaded because they are

based on conduct that occurred within four years of the filing of the Snyder action.

        But the rationale of American Pipe does not support the extending of American Pipe tolling

to the plaintiffs’ state-law claims. The purpose of American Pipe tolling is to further the purpose of

class actions without defeating the purpose of statutes of limitations. Am. Pipe, 414 U.S. at 555. A

key consideration in American Pipe was that the putative class member seeking to intervene had the

exact same cause of action as the named plaintiff who originally brought the class action. Johnson v.

Ry. Express Agency, 421 U.S. 454, 467 (1975). Similarly, the putative class member in Crown seeking

to bring a separate lawsuit raised only the same cause of action as the named plaintiff in the first-filed

class action. Crown, 462 U.S. at 348. Some lower federal courts have refused to extend American Pipe

tolling to causes of action not raised in the class action giving rise to the tolling. Raie v. Cheminova,

Inc., 336 F.3d 1278, 1282–83 (11th Cir. 2003); Riccio v. New Haven Bd. of Educ., 467 F. Supp. 2d

227, 259 (D. Conn. 2006); In Re Commonwealth Oil/Tesoro Petroleum Corp. Sec. Litig., 467 F. Supp.

227, 259 (W.D. Tex 1979). But see Cullen v. Margiotta, 811 F.2d 698, 720 (2d Cir. 1987); Tosti v.

City of L. A., 754 F.2d 1485, 1489 (9th Cir. 1985).

        The Court is unpersuaded by the reasoning of those courts that have tolled the statute of

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limitations for claims not included in the class action giving rise to tolling. As noted above, the

Supreme Court has expressly stated that “the tolling effect given to the timely prior filings in

American Pipe . . . depended heavily on the fact that those filings involved exactly the same cause of

action subsequently asserted.” Johnson, 421 U.S. at 467. The sameness of the causes of action was

important because the prior filing “necessarily operated to avoid the evil against which the state of

limitations was designed to protect.” Id. The Supreme Court further noted, referring to American Pipe

tolling, that “[o]nly where there is complete identity of the causes of action will the protections

suggested by petitioner necessarily exist.” Id. at 467 n.14. Thus, under the American Pipe rationale,

if the class action giving rise to tolling is supposed to put the defendant on notice of claims that might

be brought by putative class members after certification is denied, American Pipe tolling cannot

extend to causes of action not raised in the class action because the class action will not have

provided the defendant notice of claims other than those asserted in the class action.

        Even under the reasoning of courts that have not restricted American Pipe tolling to causes

of action identical to those of the putative class, the plaintiffs’ Texas claims raise are too different

from the Snyder TCPA claims for American Pipe tolling to apply to them. Courts have extended

tolling only to claims with the same factual basis as the putative class’s claims. Tosti, 754 F.2d at

1489; Cullen, 811 F.2d at 720. The TCPA claims in Snyder and in this case require the plaintiffs to

prove only that the defendant used an “automatic telephone dialing system” to call the plaintiffs’ cell

phones. 47 U.S.C. § 227(b)(1)(A)(iii). But the plaintiffs’ Texas claims require multiple showings the

Snyder plaintiffs need not make. The plaintiffs’ negligence claims require the plaintiffs to show that

Ocwen owes the plaintiffs a common-law duty and that Ocwen’s alleged wrongful conduct caused

the plaintiffs to suffer damages. Miller v. CitiMortgage, Inc., 970 F. Supp. 2d 568, 585 (N.D. Tex.

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2013). The plaintiffs’ TDCA claims require the plaintiffs to prove damages and wrongful conduct

different from what the TCPA requires. See Tex. Fin. Code 392.302(4) (prohibiting debt collectors

from “causing a telephone to ring repeatedly and continuously, or making repeated or continuous

telephone class, with the intent to harass a person at the called number”); Narango v. Universal Sur.

of Am., 679 F. Supp. 2d 787, 801 (S.D. Tex. 2010) (recognizing that Texas law requires a TDCA

plaintiff to prove damages). And to prevail on their Texas unreasonable-collection-efforts claims, the

plaintiffs must prove conduct that “overstep[s] the bounds of routine collection methods through

excessive harassment. Everhart v. CitiMortgage, Inc., No. CIV.A. H-12-1338, 2013 WL 264436, at

*6 (S.D. Tex. Jan. 22, 2013). The TCPA claims in the Snyder actions require no evidence of these

things, which means the Snyder action would not have put Ocwen on notice of the plaintiffs’ Texas

claims. American Pipe tolling therefore does not apply to the plaintiffs’ Texas claims.

       5. The Effect of American Pipe Tolling In This Case

       Because American Pipe tolling applies to the plaintiffs’ TCPA claims, the plaintiffs’ TCPA

claims survive as pleaded.10 But because American Pipe tolling does not apply to the plaintiffs’ Texas

claims, the plaintiffs can sue under Texas law only for conduct that began two years before they filed

this suit. The Court thus dismisses the plaintiffs’ Texas claims insofar as they depend on conduct that

occurred more than two years before the plaintiffs’ filed these lawsuits. The table below provides the

limitations periods for the plaintiffs’ Texas claims. The plaintiffs cannot rely on conduct that

occurred outside these date ranges for their Texas claims. As such, the Court will confine its 12(b)(6)

analysis below to alleged conduct that occurred the date ranges in the chart.



       10
            The Court will narrow Hickman’s and Villalobos’s TCPA claims as discussed below.

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Table 2

              Plaintiff/Case Number                        Limitations Period for Texas Claims
                                                             (two years before complaint)11


              Aguilar/3:17-cv-01165                          May 3, 2015 through May 3, 2017
               Casey/3:17-cv-01166                           May 3, 2015 through May 3, 2017
             Condarco/3:17-cv-01167                          May 3, 2015 through May 3, 2017
             Contreras/3:17-cv-01168                         May 3, 2015 through May 3, 2017
             Rodriguez/3:17-cv-01169                         May 3, 2015 through May 3, 2017
              Zamora/3:17-cv-01181                           May 3, 2015 through May 3, 2017
             Wildberger/3:17-cv-01182                        May 3, 2015 through May 3, 2017
             Villalobos/3:17-cv-01183                        May 3, 2015 through May 3, 2017
              Castillo/3:17-cv-01184                         May 3, 2015 through May 3, 2017
               Pinilla/3:17-cv-01185                         May 3, 2015 through May 3, 2017
               Pinilla/3:17-cv-01186                         May 3, 2015 through May 3, 2017
              Pizzuto/3:17-cv-01200                          May 4, 2015 through May 4, 2017
               Meis/3:17-cv-01201                            May 4, 2015 through May 4, 2017
              Snerling/3:17-cv-01202                         May 4, 2015 through May 4, 2017
              Espinosa/3:17-cv-01210                         May 6, 2015 through May 6, 2017
              Latunde/3:17-cv-01211                          May 6, 2015 through May 6, 2017
              Gonzales/3:17-cv-01212                         May 7, 2015 through May 7, 2017
                Jack/3:17-cv-01213                           May 7, 2015 through May 7, 2017



        11
          Tex. Civ. Prac. & Rem. Code § 16.003(a); see Vine St. LLC v. Keeling, 361 F. Supp. 2d 600,
604 (N.D. Tex. 2005) (applying § 16.003(a)’s two-year statute of limitations to negligence claim); In Re
Marcos F. Lopez, Adv. No. 13-07019, 2015 WL 1207021, at *5 (S.D. Tex. Bankr. Mar. 12, 2015)
(applying § 16.003(a)’s statute of limitations to unreasonable-debt-collection claim); Clark v. Deutsche
Bank Nat. Tr. Co. , No. 3:14-cv-3590-B, 2015 WL 4093948, at *8 (N.D. Tex. Jul. 7, 2015) (applying §
16.003(a)’s statute of limitations to TDCA claim).

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                 Lock/3:17-cv-01214                             May 7, 2015 through May 7, 2017
             Bowden, Sr./3:17-cv-01232                          May 8, 2015 through May 8, 2017
               Chavez/3:17-cv-01233                             May 8, 2015 through May 8, 2017
               Gribben/3:17-cv-01234                            May 8, 2015 through May 8, 2017
              Hickman/3:17-cv-01235                             May 8, 2015 through May 8, 2017
                Leeder/3:17-cv-01236                            May 8, 2015 through May 8, 2017
                 Odle/3:17-cv-01237                             May 8, 2013 through May 8, 2017

B. 12(b)(6) Motion

       Ocwen has moved to dismiss the plaintiffs’ Texas claims, arguing under Federal Rule of Civil

Procedure 12(b)(6) that the plaintiffs have failed to state claims for which relief can be granted. The

plaintiffs remaining12 Texas claims are for common-law negligence, violations of the TDCA, and

common-law unreasonable collection efforts. Because the statute of limitations allows claims based

on conduct occurring only after May 2015,13 the Court must disregard allegations based on conduct

that occurred before May 2015. The Court will address each of the plaintiffs’ claims in turn.

       1. Negligence

       To prevail on a negligence claim in Texas, a plaintiff must plead and prove that the defendant

had a duty to the plaintiff, that the defendant breached that duty, and that the breach proximately

caused the plaintiff damages. Miller, 970 F. Supp. 2d at 585. Ocwen says the plaintiffs inadequately

pleaded duty and damages. Doc. 22, Mot. to Dismiss, 12, 14.

       Here, the plaintiffs plead that Ocwen negligently caused them damages, in the form of



       12
            The plaintiffs voluntarily dismissed their negligence per se claim. Doc. 25, Resp., 14 n.5.
       13
            See supra Table 2.

                                                     - 18 -
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emotional distress, by calling them numerous times.14 But Texas law imposes no duty to avoid

negligently causing emotional distress. City of Tyler v. Likes, 962 S.W.2d 489, 495 (Tex. 1997).

Thus, the Court dismisses the plaintiffs’ negligence claims.

        2. TDCA

        Ocwen argues that the Court should dismiss the plaintiffs’ TDCA claims because the

plaintiffs have inadequately pleaded damages and that wrongful conduct occurred during the

limitations period. Doc. 22, Mot. to Dismiss, 18.

        The plaintiffs have accused Ocwen of violating Tex. Fin. Code § 392.302(4), see, e.g., Doc.

14, Am. Compl., ¶¶ 84–90, which states that “[i]n a debt collection, a debt collector may not

oppress, harass, or abuse a person by . . causing a telephone to ring repeatedly or continuously, or

making repeated or continuous telephone calls, with the intent to harass a person at the called

number.” Tex. Fin. Code § 392.302(4). A plaintiff must plead and prove actual damages to prevail

on a TDCA claim. Narango, 679 F. Supp. 2d at 801.

        But many of the plaintiffs have failed to plead facts making it plausible that Ocwen engaged

in wrongful conduct during the limitations period, which, because the American Pipe tolling does not

apply to the plaintiffs’ Texas claims, runs only from May 2015 until the plaintiffs filed these lawsuits

in May 2017. Though these plaintiffs’ pleadings make it plausible that Ocwen called them during the

limitations periods, these plaintiffs failed to plead any facts indicating the amount or frequency of

calls that occurred in the limitations period, which stating a TDCA claim requires. Tex. Fin. Code

§ 392.302(4).



        14
             3:17-cv-1165, Doc. 14, Am. Compl., ¶¶ 24–25, 29, 38–42, 48.

                                                  - 19 -
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       Although these plaintiffs did describe specific instances of frequent and numerous calls, the

plaintiffs’ accounts describe conduct that occurred before May 2015. Pleadings pertaining to calls

allegedly received outside of the limitations periods do not make it any more or less plausible that

Ocwen engaged in wrongful conduct during the limitations period. Thus, because the plaintiffs failed

to plead facts making plausible their claim that Ocwen caused the plaintiffs’ telephones “to ring

repeatedly or continuously, or ma[de] repeated or continuous telephone calls, with the intent to

harass” the plaintiffs during the limitations period, Tex. Fin. Code § 392.302(4), the Court dismisses

the following plaintiffs’ TDCA claims.

Table 3

  Plaintiff/Case Number         Limitations Period for Texas               Dates of Detailed
                                           Claims                            Allegations
                                (two years before complaint)
  Aguilar/3:17-cv-01165       May 3, 2015 through May 3, 2017          April through September

                                                                                  2014
   Casey/3:17-cv-01166        May 3, 2015 through May 3, 2017          January through October

                                                                                  2012
 Contreras/3:17-cv-01168      May 3, 2015 through May 3, 2017        July through December 2014
  Zamora/3:17-cv-01181        May 3, 2015 through May 3, 2017         July through October 2012
   Wildberger/3:17-cv-        May 3, 2015 through May 3, 2017        June through December 2014

           01182
 Villalobos/3:17-cv-01183     May 3, 2015 through May 3, 2017        June through December 2014
  Castillo/3:17-cv-01184      May 3, 2015 through May 3, 2017          May through August 2012
   Pinilla/3:17-cv-01185      May 3, 2015 through May 3, 2017        January through March 2015
   Pinilla/3:17-cv-01186      May 3, 2015 through May 3, 2017                 January 2012


                                                - 20 -
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  Pizzuto/3:17-cv-01200      May 4, 2015 through May 4, 2017       June through December 2012
  Snerling/3:17-cv-01202     May 4, 2015 through May 4, 2017         January through July 2013
 Espinosa/3:17-cv-01210      May 6, 2015 through May 6, 2017         March through April 2013
  Latunde/3:17-cv-01211      May 6, 2015 through May 6, 2017             2012 through 2014
 Gonzales/3:17-cv-01212      May 7, 2015 through May 7, 2017       June through December 2014
    Jack/3:17-cv-01213       May 7, 2015 through May 7, 2017       May through December 2014
   Lock/3:17-cv-01214        May 7, 2015 through May 7, 2017       May through December 2014
   Bowden, Sr./3:17-cv-      May 8, 2015 through May 8, 2017       June through December 2012

            01232
  Chavez/3:17-cv-01233       May 8, 2015 through May 8, 2017            2014 and April 2015
  Gribben/3:17-cv-01234      May 8, 2015 through May 8, 2017           2012 and January 2015
  Leeder/3:17-cv-01236       May 8, 2015 through May 8, 2017          April through November

                                                                                2014
   Odle/3:17-cv-01237        May 8, 2013 through May 8, 2017          January through October

                                                                                2012

       Other plaintiffs pleaded facts making their TDCA claims plausible. These plaintiffs pleaded

facts pertaining to the amount and frequency of calls they allegedly received from Ocwen during the

limitations periods. The Court thus allows the following plaintiffs’ TDCA claims to proceed.

Table 4

  Plaintiff/Case Number        Limitations Period for Texas              Dates of Detailed
                                          Claims                          Allegations15
                               (two years before complaint)



       15
         3:17-cv-01167, Doc. 15, Am. Compl., ¶ 30; 3:17-cv-01169, Doc. 15, Am. Compl., ¶ 30; 3:17-
cv-01201, Doc. 17, Am. Compl., ¶ 30; 3:17-cv-01235, Doc. 14, Am. Compl., ¶ 36.

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 Condarco/3:17-cv-01167       May 3, 2015 through May 3, 2017         August 2014 through July

                                                                                 2015
 Rodriguez/3:17-cv-01169      May 3, 2015 through May 3, 2017         April through August 2015
    Meis/3:17-cv-01201        May 4, 2015 through May 4, 2017         February through August

                                                                                 2015
 Hickman/3:17-cv-01235        May 8, 2015 through May 8, 2017         Home Phone: August 2011

                                                                          through June 2013

                                                                        Cell Phone: July 2013

                                                                       through December 2015

       3. Unreasonable Debt Collection Efforts

       Unreasonable Debt Collection Efforts is an intentional tort under Texas common law. Woods

v. Bank of Am., N.A., 2012 WL 1344343, at * 8 (N.D. Tex. April 17, 2012) (citing EMC Mortg.

Corp. v. Jones, 252 S.W.3d 857, 868 (Tex. App.—Dallas 2008, no pet.)).Texas courts have said the

tort includes “efforts that amount to a course of harassment that was willful, wanton, malicious, and

intended to inflict mental anguish and bodily harm.” EMC, 252 S.W.3d at 868. “[M]ental anguish

alone is insufficient to sustain a recovery of damages, at common law, for unreasonable collection

efforts.” McDonald v. Bennett, 674 F.2d 1080, 1088 (5th Cir. 1982).

       Here, even if the plaintiffs have pleaded conduct that would support an unreasonable-debt-

collection claim, they have inadequately pleaded damages. The plaintiffs admit that they have

pleaded only mental-anguish damages. Doc. 25, Response, 18, 20, 24. But the Fifth Circuit has said

mental-anguish damages alone cannot support a claim for unreasonable debt collection. McDonald

v. Bennett, 674 F.2d 1080, 1088 (5th Cir. 1982). Thus, the Court dismisses the plaintiffs’


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unreasonable-debt-collection claims.

        4. Hickman’s and Villalobos’s TCPA claims

        Ocwen highlights that Hickman and Villalobos have accused Ocwen of wrongfully calling

their home phones in addition to their cellular phones.16 But the TCPA forbids only certain calls to

cellular phones. 47 U.S.C. § 227(b)(1)(A)(iii).17 Indeed, Hickman and Villalobos have clarified that

they accuse Ocwen of violating only Texas law by calling their home phones. Doc. 25, Resp., 24.

Thus, the Court dismisses Hickman’s and Villalobos TCPA claims insofar as the claims rely on calls

to home phone numbers. Hickman’s and Villalobos’s TCPA claims can proceed insofar as they rely

on calls to their cellular phones.

                                                   IV.

                                            CONCLUSION

        First, although the Court finds that a putative class member can benefit from American Pipe

tolling even if she files her own lawsuit before the class-action court’s certification decision, the Court

concludes that the Snyder action tolled the statute of limitations only for the plaintiffs’ TCPA claims.

The Court thus DENIES IN PART Ocwen’s motion to dismiss and allows the plaintiffs’ TCPA

claims to proceed as pleaded—subject to the Court’s finding below regarding Hickman’s and

Villalobos’s TCPA claims. The Court also GRANTS IN PART Ocwen’s motion and limits each

plaintiff’s Texas claims to conduct allegedly occurring in the two years proceeding the filing of his




        16
             3:17-cv-01183, Doc. 15, Am. Compl. ¶ 29; 3:17-cv-01235, Doc. 14, Am. Compl., ¶¶ 24–25.
        17
          The TCPA makes other claims available, but the plaintiffs have not pleaded any of them. See
47 U.S.C. § 227(b).

                                                  - 23 -
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or her complaint.18 The plaintiffs’ Texas claims are DISMISSED WITH PREJUDICE19 insofar as

they depend on conduct that occurred outside of the applicable limitations periods.

        Second, the Court GRANTS IN PART Ocwen’s motion and DISMISSES WITH

PREJUDICE20 the plaintiffs’ negligence and unreasonable-debt-collection claims. As the tables show

above, the Court DENIES IN PART Ocwen’s motion to dismiss and allows Condarco’s, Rodriguez’s,

Meis’s, and Hickman’s TDCA claims to proceed21 and GRANTS IN PART Ocwen’s motion and

DISMISSES WITH PREJUDICE22 the rest of the plaintiffs’ TDCA claims.23 Finally, the Court

GRANTS IN PART Ocwen’s motion and DISMISSES WITH PREJUDICE24 Hickman’s and

Villalobos’s TCPA claims insofar as they depend on calls to their home phone numbers.

        Only the following claims remain live: the plaintiffs TCPA claims as pleaded except for

Hickman’s and Villalobos’s TCPA claims insofar as they depend on alleged calls to home phones and

the TDCA claims of Condarco, Meis, Rodriguez, and Hickman as limited by the applicable two-year

statute of limitations.25

        18
             See supra Table 2.
        19
             Each of the plaintiffs has repleaded his or her complaint at least once in response to Ocwen’s
first round of motions to dismiss, in which Ocwen attacked the plaintiffs’ complaints in the same ways it
does now. Doc. 11, Mot. to Dismiss. Repleading failed to resolve the defects that doom many of the
plaintiffs’ claims. Dismissal is thus with prejudice
        20
             See supra note 19.
        21
             See supra Table 4.
        22
             See supra note 19.
        23
             See supra Table 3.
        24
             See supra note 19.
        25
             See supra Table 4.

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    SO ORDERED.

    SIGNED: February 20, 2018.




                                 _________________________________
                                 JANE J. BOYLE
                                 UNITED STATES DISTRICT JUDGE




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